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    5                                              U.S. District Court
                                                   District of Oregon
    6

    7                                                        )
               STEVEN BUTLER                                 )     Case No. 6:17-cv-00562-JR
    8                                                        )
               Plaintiff,                                    )     MOTION TO AMEND
    9
                                                             )
   10          v.                                            )
                                                             )
   11          Carol Dunford                                 )
               United States                                 )
   12
                                                             )
   13          Defendant,                                    )
                                                             )
   14                                                        )
~~--'!-~~~~~~~~~~~~~~~~-)

   16     1.                I respectfully ask the court to Amend my Complaint amount to Two
                            hundred and fifty thousand U.S. Dollars ($250,000).
   17
          2.                I respectfully ask the court for a Jury Trial.
   18
   19
               DATED this 12h day of May, 2017
   20

   21
   22
   23

   24                                                      Plaintiff, Pro se

   25   MOTION TO AMEND
   26
    Case 6:17-cv-00562-JR        Document 5      Filed 05/15/17    Page 2 of 2




                        CERTIFICATE OF SERVICE



I certify that a copy of the forgoing MOTION TO AMEND was placed in a prepaid

envelope on th 12th of May 2017 and deposited in a United States Post Office

outgoing mail receptacle addressed to:

United States Attorney's Office
District of Oregon
1000 S. W. Third Avenue, Suite 600
Portland, OR 97204-2902

ATTN: BILLY J. WILLIAMS, OSB #901366
      ADRIAN BROWN, OSB #05020

        Defendants




                                                Pro Se Plaintiff




CERTIFICATE OF SERVICE
